       Case 1:22-cv-00113-HSO-RPM Document 112 Filed 09/29/23 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

STATE OF MISSISSIPPI; STATE OF
ALABAMA; STATE OF ARKANSAS;
COMMONWEALTH OF KENTUCKY;
STATE OF LOUISIANA; STATE OF
MISSOURI; and STATE OF MONTANA,
                        Plaintiffs,
                                                              No. 1:22-cv-113-HSO-RPM
v.

XAVIER BECERRA, in his official
capacity as Secretary of Health and
Human Services; THE UNITED
STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES;
CHIQUITA BROOKS-LASURE, in her
official capacity as Administrator of the
Centers for Medicare and Medicaid
Services; THE CENTERS FOR
MEDICARE AND MEDICAID
SERVICES; THE UNITED STATES
OF AMERICA,
                              Defendants.
____________________________________________

       MOTION FOR LEAVE TO PARTICIPATE AS AMICI CURIAE IN SUMMARY
     JUDGMENT HEARING ON BEHALF OF GREENSBORO HEALTH DISPARITIES
     COLLABORATIVE AND THE NAACP STATE CONFERENCES FOR ALABAMA,
     ARIZONA, ARKANSAS, KENTUCKY, LOUISANA, MISSOURI, MISSISSIPPI, AND
                               MONTANA

        The Greensboro Health Disparities Collaborative (“the Collaborative”) and the NAACP

State Conferences for Alabama, Arizona, Arkansas, Kentucky, Louisiana, Missouri, Mississippi,

and Montana (“the NAACP State Conferences”) respectfully request leave to present argument as

amici curiae if this Court grants Plaintiffs’ unopposed request for a hearing on the parties’ pending

cross-motion motions for summary judgment.

        The Collaborative and the NAACP State Conferences presented case-dispositive issues

that Defendants failed to raise in their briefing, including Plaintiffs’ lack of evidence on their
     Case 1:22-cv-00113-HSO-RPM Document 112 Filed 09/29/23 Page 2 of 3




theory of law-enforcement standing and the flaws in Plaintiffs’ statutory interpretation arguments.

Amici also provided a more comprehensive discussion of the parens patriae and ultra vires

arguments that Defendants raised in their cross-motion for summary judgment, and could provide

a fulsome discussion of that issue if allowed to present argument at the hearing.

       To facilitate efficient presentation of the issues, the Collaborative and the NAACP State

Conferences request 15 minutes of argument time. This motion is supported by the attached

memorandum of law. Amici also attached a proposed order to be issued in the event that the

Motion to Participate As Amici Curiae In Summary Judgment Hearing is granted.


Respectfully submitted, this 29th day of September, 2023.

 /S/ Robert B. McDuff
 Robert B. McDuff (MS Bar #2532)                      Jo-Ann Tamila Sagar*
 Mississippi Center for Justice                       Stanley J. Brown*
 210 E Capitol Street, Suite 1800                     HOGAN LOVELLS US LLP
 Jackson, MS 39201                                    555 Thirteenth Street, NW
 Telephone: (601) 259-8484                            Washington, DC 20004
 rmcduff@mscenterforjustice.org                       Telephone: (202) 637-5600
                                                      Facsimile: (202) 637-5910
 Jon Greenbaum*                                       jo-ann.sagar@hoganlovells.com
 Kathryn Youker*
 Lawyers’ Committee for Civil Rights Under Law        Johannah Walker*†
 1500 K Street, NW, Suite 900                         HOGAN LOVELLS US LLP
 Washington, DC 20005                                 4 Embarcadero Ctr., Suite 3500
 Telephone: (202) 662-8355                            San Francisco, CA 94111
 kyouker@lawyerscommittee.org
                                                      Counsel for Amici
                                                      * Admitted Pro Hac Vice

                                                      † Admitted only in the District of Columbia

                                                      and Arkansas. Practice supervised by
                                                      principals of the Firm admitted in the
                                                      California.




                                                2
     Case 1:22-cv-00113-HSO-RPM Document 112 Filed 09/29/23 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I certify that on September 29, 2023, the foregoing document was filed on the Court’s

CM/ECF system which sent notification of such filing to all counsel of record.


                                                           /S/ Robert B. McDuff




                                               3
